        Case 2:24-cr-02433-EG          Document 22           Filed 12/19/24   Page 1 of 2




                        UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF TEXAS
                              DEL RIO DIVISION

UNITED STATES OF AMERICA                        §
                                                §
vs.                                             §      NO: DR:24-CR-02433(1)-EG
                                                §
(1) CELIN MAURICIO                              §
SOTO-MARTINEZ


                                          ORDER

       On this date came on to be considered the Memorandum and Recommendation of the

United States Magistrate Judge, filed in the above-styled and numbered cause. Pursuant to 28

U.S.C. § 636(b), this Court referred to the Magistrate Judge for the administration of defendant’s

guilty plea and allocution under Rule 11 of the Federal Rules of Criminal Procedure. See United

States v. Dees, 125 F. 3d 261, 263 (5th Cir. 1997). Defendant consented to the administration

of the guilty plea and allocution by the Magistrate Judge.

       Any party who desires to object to a Magistrate Judge’s findings and recommendations

must serve and file his written objections within fourteen days after being served with a copy of

them. The time for filing objections has passed. No objections to the Memorandum and

Recommendation have been filed.

       Because no party has objected to the Magistrate Judge’s Memorandum and

Recommendation, the court need not conduct a de novo review. See 28 U.S.C. § 636(b)(1) (“A

judge of court the court shall make a de novo determination of those portions of the report or

specified proposed findings and recommendations to which objection is made.”) The court has

reviewed the Memorandum and Recommendation and finds it to be neither clearly erroneous nor
        Case 2:24-cr-02433-EG         Document 22       Filed 12/19/24      Page 2 of 2




contrary to law. There having been no objections or other opposition made to the findings of fact

and conclusions of law of the Magistrate Judge’s report and recommendation, Accordingly,

       IT IS ORDERED that the Memorandum and Recommendation of the United States

Magistrate Judge filed in this cause be and is accepted pursuant to 28 U.S.C. § 636(b)(1) such

that defendant’s guilty plea is ACCEPTED.

       The court will accept the defendant’s guilty plea as to Count One (1) of the Indictment.

       SIGNED this 19th day of December, 2024.



                                                   ______________________________
                                                   ERNEST GONZALEZ
                                                   UNITED STATES DISTRICT JUDGE
